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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTSVILLE DIVISION

  BABY DOE, et al.,

                 Plaintiffs,
                                                              CIVIL NO: 3:22-cv-00049-NKM-JCH
          -v.-

  JOSHUA MAST, et al.,

                 Defendants,

  and

  UNITED  SECRETARY                OF      STATE
  ANTONY BLINKEN, et al.

                 Nominal Defendants.


                 [PROPOSED] ORDER GRANTING MOTION TO COMPEL

        Having reviewed the motion seeking an order to compel Plaintiffs to produce all responsive,

non-privileged documents to Defendant Richard Mast’s Request to Produce Documents, and having

further reviewed all filings in support of and in opposition to the motion, the Court finds that good

cause exists for the Court to grant the motion, and the motion to compel is hereby GRANTED and

the Court ORDERS Plaintiffs to produce all responsive, non-privileged documents to Defendant

Mast within 5 days of this order, and the Court further and more specifically ORDERS (1) that

Plaintiffs and their counsel certify that all non-privileged and responsive documents have been

produced; (2) that Plaintiffs produce all of the items listed on the June 8 privilege log based upon the

involvement of Martha Jenkins and Carolina Velasquez; (3) that Plaintiffs turn over items identified

at numbers 2 and 11-12 for the Court’s in camera inspection; and (4) that Plaintiffs properly identify

the specific request for production to which a document was produced for each of Plaintiffs’

Production Nos. 1-4 and 8 within 5 days of this order. The Court further ORDERS movant to present

evidence of his expenses, including attorney’s fees, incurred in making the motion, including the

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futile meet-and-confer effort leading to the motion, pursuant to Rule 37(a)(5)(A), within 14 days of

the entry of this order. Plaintiffs shall file any opposition to the showing of expenses seven days

thereafter and the movant shall reply within three court days following Plaintiffs’ filing.

       SO ORDERED.

       Dated: ___________                               __________________________
                                                        Magistrate Judge Joel C. Hoppe




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